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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION


    RORY V. HOTOMANIE,                             CV 20-117-BLG-SPW-TJC
                                                   (Member Case)
                         Plaintiff,
                                                   Consolidated with
    vs.
                                                   CV-20-116-BLG-SPW-TJC
    ARCHIE ADKINS, MS                              (Lead Case)
    DIRECTIONAL, LLC., and DOES I-
    V,                                         ORDER GRANTING MOTION TO
                                               FILE UNDER SEAL
                         Defendants.




          Plaintiff has renewed his motion to file under seal his brief in support and

supporting exhibits for his Motion to Amend. (Docs. 39, 42, 44, 45, 46). 1 The

motion is unopposed.

          Plaintiff represents that Defendant Archie Adkins has asserted a

constitutional privacy interest in Adkins’ driving record and therefore filing under

seal is appropriate. (Doc. 46 at 2.) Good cause showing,



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  Citations are to the lead case Docket, CV-20-116. Counsel is reminded to docket
to the lead case (CV-20-116) and “spread” filings to the member case using the
functionality within CM/ECF, pursuant to the Guide For Filing § 8(h)(i), found at:
https://www.mtd.uscourts.gov/manuals-training. It follows that all future briefing
should cite to the lead case Docket.
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IT IS ORDERED that the motion to file under seal (Doc. 46) is GRANTED.

DATED this 1st day of June, 2021.


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                              TIMOTHY J. CAVAN
                              United States Magistrate Judge
